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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                  MEMORANDUM IN SUPPORT OF
                                COX’S MOTION TO FILE UNDER SEAL

            Plaintiffs respectfully submit this memorandum in support of Cox’s motion to seal (ECF No.

     243) submitted with Cox’s August 14, 2019 motion to preclude (ECF No. 241) (the “Motion”), the

     supporting memorandum (ECF No. 239, the “Memorandum”), and the supporting Declaration of Diana

     Hughes Leiden (ECF No. 239-1, the “Leiden Declaration”).

            Cox’s Motion requests that the Court seal Exhibits B, E, F, G, T, U, W, X, Y, and Z to the

     Leiden Declaration (ECF Nos. 239-3, 239-6, 239-7, 239-8, 239-21, 239-22, 239-24, 239-25, 239-

     26, 239-27) and portions of the Leiden Declaration and Memorandum that cite to Exhibits B, E, F,

     G, T, U, W, X, Y, and Z (collectively, the “Proposed Sealed Exhibits”). The Proposed Sealed

     Exhibits incorporate information that has been designated as Highly Confidential – Attorneys’

     Eyes Only under the Stipulated Protective Order (ECF No. 60), the disclosure of which would

     create a substantial risk of harm to the producing party and other nonparties to this action.

            Exhibits B, E, F, and G incorporate data and/or reports generated in connection with

     infringement notices sent to Cox on Plaintiffs’ Behalf. Exhibit B is an Excel spreadsheet (Bates

     numbered Plaintiffs_00286281) containing highly confidential data compiled by non-party
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MarkMonitor      showing     evidence    of   infringement.        Exhibit    E   (Bates    numbered

Plaintiffs_00286431) is an Excel spreadsheet containing highly confidential data concerning non-

party MarkMonitor’s proprietary verification process including data from both MarkMonitor and

non-party Audible Magic. Exhibit F is a screenshot showing metadata from Exhibit E (as well as

metadata from a separate document produced by non-party MarkMonitor). Exhibit G is a

screenshot of certain information in Exhibit E (as well as metadata from a separate document

produced by non-party MarkMonitor). These exhibits constitute and discuss highly-confidential,

commercially sensitive, and proprietary aspects of Plaintiffs infringement evidence, including data

confidential data generated by third parties including the RIAA, MarkMonitor, and Audible Magic.

These Proposed Sealed Exhibits contain details regarding the processes Plaintiffs and third parties

use to detect, verify, collect evidence, and send notices regarding online piracy. If disclosed, others

could use this highly-confidential information and related trade secrets for illegal or unlawful

purposes, or competitors could use this information to unfairly compete with Plaintiffs, RIAA,

MarkMonitor, or Audible Magic.

       Exhibits T and U are documents produced by the RIAA in response to Cox’s subpoena –

both designated as “Highly-confidential – Attorneys’ Eyes’ Only” under the Protective Order.1

Exhibit T is a 2012 Statement of Work between the RIAA and MarkMonitor. Exhibit U is a 2011

Master Agreement between the RIAA and MarkMonitor. These documents constitute and discuss

highly sensitive business dealings relating to proprietary processes for addressing online piracy.

If disclosed, this information would allow competitors to gain access to the confidential business




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 Undersigned counsel for Plaintiffs represent RIAA in connection with its response to a January
2019 subpoena Cox served on it in this action.


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decisions, analyses, and dealings of these two non-parties, and allow competitors to unfairly

compete with them.

           Exhibits W, X, Y, and Z, and the sealed references thereto, contain Plaintiffs’ expert reports

and testimony based on confidential, proprietary information concerning commercially sensitive

data and information of Plaintiffs, Defendants, and third parties, including MarkMonitor and

Audible Magic. This includes information that Cox itself has designated as Highly Confidential –

Attorneys’ Eyes Only under the Stipulated Protective Order. These parties have represented that

the information contained in these exhibits, if public, would create a serious risk of unnecessary

harm.      Among other things, Exhibits W, X and Y contain information, opinions and data

concerning third-party source code, anti-piracy processes and the data of third parties who have

designated documents under the Protective Order. Exhibit Z relies upon, cites and discusses at

length the sealed data discussed above at Exhibits B, E, F and G.

           Based on the foregoing, Plaintiffs respectfully request that the Court grant Cox’s motion

to seal.




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 Dated: August 21, 2019                   Respectfully submitted,

                                          /s/ Scott A. Zebrak___________
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